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                          No. 22-51015

             In the United States Court of Appeals
                     For the Fifth Circuit

                 UNITED STATES OF AMERICA,

                                                               Plaintiff-Appellee,
                                  v.

                   ROBERT MARQUEZ, JR.
                                                            Defendant-Appellant.

                   _______________________


 APPEAL FROM THE UNITED STATES DISTRICT COURT
      FOR THE WESTERN DISTRICT OF TEXAS

                   _______________________

       MERITS BRIEF OF DEFENDANT-APPELLANT


                   _______________________

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                    CERTIFICATE OF INTERESTED PERSONS

                            United States v. Robert Marquez, Jr.
                                       No. 22-51015
    The undersigned counsel of record certifies that the persons having an interest

in the outcome of this case are those listed below:

    1. Jaime Esparza, U.S. Attorney, and Richard Watts and Victoria Crosby

Assistant U.S. Attorneys, who represented Plaintiff-Appellee in the District Court;

    2. Joseph H. Gay, Jr., Assistant U.S. Attorney, attorney for Plaintiff-Appellee

in this Court.

    3. Matthew Rex DeKoatz, attorney for Defendant-Appellant on appeal;

Leonard Morales and Richard Jewkes, attorneys for Defendant-Appellant at trial

court level.

    4.     Honorable David Briones, United States District Judge for the Western

District of Texas, El Paso Division, who presided over the guilty plea and sentencing

hearing.

           This certificate is made so that the justices of this Court may evaluate

possible disqualification or recusal.


                                                    /S/ Matthew Rex DeKoatz
                                                   MATTHEW REX DEKOATZ
                                                   Attorney for Defendant-Appellant




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         STATEMENT REGARDING ORAL ARGUMENT

Oral argument is unnecessary in this case.




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          was greater than necessary to fulfill the sentencing objectives of 18
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           SUBJECT MATTER AND APPELLATE JURISDICTION

    1. Subject Matter Jurisdiction in the District Court. This case arose from the

prosecution of alleged offenses against the laws of the United States. The district

court exercised jurisdiction under 18 U.S.C. § 3231.

    2. Jurisdiction in the Court of Appeals. This is a direct appeal from a final

decision of the United States District Court for the Western District of Texas,

entering judgment of conviction and sentence in a criminal case. This Court has

jurisdiction of this appeal under 28 U.S.C. § 1291 and 18 U.S.C. § 3742.

    Under Federal Rule of Appellate Procedure 4(b), a criminal defendant shall file

notice of appeal in the district court within 14 days after the entry of either the

judgment or the order being appealed. In this case, the original written judgment

was entered on November 3, 2022. ROA 61 to 67. Appellant Marquez filed his

Notice of Appeal on November 10, 2022. ROA 69. Undersigned Counsel was

appointed to pursue this appeal on November 21, 2022. ROA 79.



   ISSUE PRESENTED FOR REVIEW

   (1) Whether the sentence imposed by the district court was greater than necessary

   to fulfill the sentencing objectives of 18 U.S.C §3553(a) and, therefore,

   unreasonable.

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STATEMENT OF THE CASE

1. Nature of the Case.

Defendant-Appellant Robert Marquez Jr. was charged in a twelve-count

indictment with a number of drug-related offenses. ROA 23-29. Ultimately,

Appellant pleaded guilty to only Count 2:



COUNT TWO
(21 U.S.C. §§ 952(a), 960(a)(1), 960(b)(l)(B)(ii) & 18 U.S.C. § 2)

That on or about April 21, 2021, in the Western District of Texas, Defendant,
ROBERT MARQUEZ JR., did knowingly and intentionally import into the
United States from Mexico a controlled substance, and aided and abetted the
same, which offense involved 5 kilograms or more of a mixture or substance
containing a detectable amount of cocaine, a Schedule II Controlled Substance,
in violation of Title 21, United States Code, Sections 952(a), 960(a)( 1), and
960(b)(l )(B)(ii) and Title 18, United States Code, Section 2.


ROA. 24, 106.



The indictment in this case was filed in the Western District of Texas, El Paso

Division, on November 17, 2021. ROA. 24. The indictment charged him with

importing a Schedule I Controlled substance, cocaine, involving 5 kilograms or

more, with aiding and abetting the same in violation of 21 U.S.C. §§ 952(a),

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960(a)(1), 960(b)(l)(B)(ii) & 18 U.S.C. § 2. ROA. 24.            The Defendant-

Appellant pleaded guilty on August 16, 2022, before the Hon. David Briones.

ROA. 106. This resulted in a base offense level of 34. Appellant received a 3-

level reduction for mitigating roll. Appellant qualified under the First Step Act.

The trial court placed Appellant in a criminal history category of II. Based upon

these calculations, and based upon the applicable guideline range, the trial court

placed Appellant at a level 24, CAT II, with a range of punishment of 57 to 71

months of custody in the Bureau of Prisons. ROA. 117 to 118.



On November 2, 2022, Appellant appeared before the Honorable David Briones,

and received a sentence of 57 months. ROA. 118 to 121. Pursuant to the plea

agreement, the Government dismissed all of the remaining counts, Count 1 and

Counts 3 through 11. ROA 123. Appellant argues herein that his sentence is

unreasonable because it is greater than necessary to achieve the sentencing goals

contemplated by 18 U.S.C.§3553(a).




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2. Course of Proceedings and Disposition in the Court Below

Robert Marquez Jr. was charged in a twelve-count indictment, filed in the

Western District of Texas, El Paso Division, on November 17, 2021. ROA. 24.

Count two of the indictment charged him with importing a Schedule I Controlled

substance, cocaine, involving 5 kilograms or more, and charged him with aiding

and abetting the same in violation of 21 U.S.C. §§ 952(a), 960(a)(1),

960(b)(l)(B)(ii) & 18 U.S.C. § 2. ROA. 24. Appellant pleaded guilty to only

Count two of the indictment and on August 16, 2022. ROA. 106.



Appellant was scored at a criminal history category II based upon his prior

conviction for deceptive trade practices and for committing the instant crime

while he was under a criminal justice sentence. ROA. 148, 151.      Appellant was

scored at a base level of 34. He received a three-level reduction for mitigating

roll, resulting in a total offense level of 31. He received a three-level reduction

for acceptance of responsibility. He received additional reductions for safety

valve and for his qualifying for reduction under the First Step Act. This brought

his total offense level to 24. Appellant had a criminal history score of 3, hence,

his criminal history category was "II." ROA 117 to 118.            The applicable

guideline range was 57 to 71 months. ROA. 118 to 120.              At sentencing,

Marquez’ attorney asked for a sentence at the bottom of the applicable guideline

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range. ROA. 120. The District Court sentenced Marquez to 57 months. ROA.

121. Marquez appealed. ROA. 71.



3. Statement of Facts

The Government recited the following as the factual basis in support of

Appellant’s plea of guilty:



      MR. WATTS: Yes, sir. Your Honor, if this matter were
      to proceed to trial, the Prosecution would offer the following
      evidence.
      On April 21st, 2021, a person with the initials O.A.C.
      entered the United States from Mexico at the Ysleta Port of
      Entry here in El Paso, Texas, driving a 2005 Ford F-150 pickup
      truck.
      During the inspection, the CBP officer noticed that
      O.A.C., the driver of the vehicle, customarily crossed into the
      United States with Defendant Roberto Marquez, Jr., and he asked
      him where was Roberto Marquez, Jr., on that day, and the driver
      said, Well, he was in the truck, but he had gotten out of the
      truck in the middle of the bridge and walked down.
      CBP conducted a more thorough inspection of the
      vehicle and found several types of drugs, notably
      22.62 kilograms of cocaine hidden in the doors and the walls of
      the cab of the pickup truck.
      In a post-arrest statement, O.A.C. admitted he knew
      there was something illegal in the truck. O.A.C. said that
      Marquez told him the border inspectors were looking at him
      closely each time he crossed, so he needed to walk across
      separately.
      Defendant Roberto Marquez, Jr., now admits to
      knowingly importing a controlled substance into the USA from
      Mexico on April 21st, 2021, within the Western District of

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      Texas.
      THE COURT: Mr. Jewkes, any corrections to the factual
      basis on Mr. Marquez?
      MR. JEWKES: No, Your Honor.
      THE COURT: Mr. Marquez, having heard Mr. Watts recite
      the facts of your case, is everything correct as he has stated?
      THE DEFENDANT: Yes, Your Honor.

ROA. 107 to 108.




With a total offense level of 24, and a criminal history category of II, the

applicable guideline range was 57 to 71 months. ROA. 118 to 120.             At

sentencing, Marquez’ attorney requested a sentence at the bottom of the

applicable guideline range. He argued that a 57-month sentence was appropriate.

ROA. 120. The District Court stated the following:

      THE COURT: The Base Offense Level ordinarily would be
      34, but since Mr. Marquez gets a mitigating role, it goes down
      to a 31 based on 22,362 kilograms converted, Fentanyl, heroin
      and cocaine. The whole thing converted. He gets 2 off from
      the 31 for minor role, and 3 off for acceptance. Makes him a
      26 with a Criminal History Category II based on three points.
      Ordinarily, it would be 70 to 87 months. Actually, it
      would be 120 mandatory minimum; however, he does comply with
      the FIRST STEP Act, so I'm going to give him that opportunity.
      I'll give him Safety Valve -- well, I'll give him two off to
      comply with the FIRST STEP Act instead of the Safety Valve, but
      then he qualifies for a sentence below the mandatory minimum.
      He would be a 24 with a II. Advisory Guideline Range
      57 to 71 months. That's a lot better than 120.
      MR. JEWKES: Yes, sir.

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ROA. 117-118.

The District Court sentenced Marquez to 57 months. ROA. 121.



SUMMARY OF THE ARGUMENT

The District Court sentenced Marquez to 57-months of imprisonment. ROA.

121. It is Appellant's position that the sentence was greater than necessary to

achieve the sentencing goals enumerated in 18 U.S.C. §3553(a), and, hence, was

unreasonable. Appellant, therefore, respectfully requests that the sentence be

vacated and remanded for new sentencing.




ARGUMENT AND AUTHORITIES

MARQUEZ’ SENTENCE IS UNREASONNABLE.

A District Court is obliged to impose a sentence, "sufficient, but not greater than

necessary," to achieve the goals contemplated in 18 U.S.C. §3553(a). Kimbrough

v. United States, 552 U.S. 85, 101 (2007). In doing so, the court must consider

the advisory guideline range called for by the U.S. Sentencing Guidelines, as well

as the other factors listed in the statute, and the specific facts raised by the

prosecutor and the defendant. See United States v. Booker, 543 U.S. 220, 258-

260 (2005). In the case-at-bar, the District Court sentenced Marquez to 57 months

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of imprisonment. ROA. 121. Even though the District Court imposed a "within-

the-guidelines sentence, the sentence was nonetheless greater than necessary to

achieve the goals enumerated in §3553. Therefore, the sentence should be

vacated and remanded for new sentencing.



A. Standard of Review.

The appellate court is to "consider the substantive reasonableness of the sentence

imposed under an abuse-of-discretion standard." Gall v. United States, 552 U.S.

38, 49-50 (2007). Marquez did not object to the sentence. Therefore, review is

limited to the application of the plain-error standard. Cf United States v. Peltier,

505 F.3d 389 (5th Cir. 2007).

B. The 57-Month Sentence Was Unreasonable

The District Court is required to "impose a sentence sufficient, but not greater

than necessary to comply with purposes set forth in paragraph (2) ... " 18 U.S.C.

§3553(a).

"The court, in determining the particular sentence to be imposed, shall consider-

(l) the nature and circumstances of the offense and the history and characteristics

of the defendant;

(2) the need for the sentence imposed-

(A) to reflect the seriousness of the offense, to promote respect for the law, and

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to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective manner;

... " 18 U.S.C. §3553(a)(1)(2)

In fashioning a sentence to meet these goals, the courts are directed to consider a

broad range of factors, including the nature and circumstances of the offense, as

well as the history and characteristics of the defendant. See 18 U.S.C. §3553(a)(l)

-(7). A sentence is presumed reasonable if it falls within the advisory guidelines

range. United States v. Campos-Maldonado, 531 F.3d 337. 339 (5th Cir. 2008).

At 57 months, the sentence was harsh considering Appellant’s minimal role and

considering other factors raised by Appellant. Appellant’s counsel effectively

and with alacrity argued:



      MR. JEWKES: Well, first of all, Your Honor, I was
      handed this morning 26 certificates of completion from the
      jail, which I would certainly make available to the Court if
      the Court chooses to examine them, but I just want to let you
      know we have them here.

      Your Honor, may it please the Court, the probation office has provided the
      Court with correspondence and
      photographs from Mr. Marquez's wife and two children

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 demonstrating his devotion to his family.
 And, we have had some conversations with his wife, and
 the family is asking for a sentence that will allow Mr. Marquez
 to rebuild his life and reunite with the family unit.
 In Paragraph 51 of the Presentence Report, the
 probation officer noted that Mr. Marquez has made daily use of
 marijuana since he was 18, and he has a self-admitted
 dependency on alcohol; therefore, we would request a
 recommendation from the Court to the Bureau of Prisons that he
 be considered for the residential drug abuse program.
 Your Honor, Paragraphs 5 through 7 of the Presentence
 Report, the officer, that being the probation officer, made the
 findings that on April the 21st, 2021, a drug-related pickup
 attempted to make entry into the United States via the Ysleta
 Port of Entry, and it was being driven by an unindicted
 co-conspirator in this case.
 The investigation revealed that Mr. Marquez was
 observed exiting from the passenger side of the pickup in the
 middle of the bridge presumably on the American side. And,
 then he successfully -- or perhaps it was on the Mexican side,
 but anyway, he successfully entered the United States. He was
 not arrested at that time. Of course, shortly thereafter, the
 driver was arrested, and a number of narcotics were seized.

 I considered the potential defense in this case, and I
 spent some time mulling over Fifth Circuit pattern jury
 instruction 2.18, which deals with withdrawal from conspiracy
 under the belief that Mr. Marquez withdrew from the conspiracy
 when he stepped out of the pickup in the middle of the bridge
 prior to the drugs being discovered and seized.
 The problem is, the reality of the application of
 instruction 2.18 is that it requires the Defendant to make a
 substantial showing that he took some affirmative action to
 terminate or abandon his participation in the conspiracy. In
 other words, he would have to prove that he voluntarily went to
 law enforcement and told them about the plan or that he told
 other co-conspirators that he was withdrawing.
 Merely doing nothing or just avoiding contact with
 other members of the conspiracy will not satisfy the test for

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      that, and that's the case here. He did not do that.
      So, we were prohibited from using that instruction as
      a defense, but I do believe that it could be considered as
      mitigation to punishment as it demonstrates Mr. Marquez's
      mental state at the time of the commission of the offense, and
      that he was trying to back out of the conspiracy.
      The Court has already covered Safety Valve,
      Your Honor.
      Your Honor, we would ask the Court to consider a
      sentence of 57 months in this case. Thank you.



ROA. 118 to 120.



For the reasons stated by defense counsel for punishment mitigation, Appellant

respectfully argues that 57-months, "within-the guidelines" sentence was

unreasonable because it was greater than necessary to meet the aspirations of

§3553(a). Marquez’ sentence should be vacated.




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                              CONCLUSION

      For the foregoing reasons, the Defendant-Appellant, Robert Marquez Jr.
moves that this Honorable Court reverse and remand the instant case for a new
sentencing hearing.


                                     Respectfully submitted,

                                      /S/Matthew "Mateo" DeKoatz
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                         CERTIFICATE OF SERVICE

    I, Matthew Rex DeKoatz certify that on January 28, 2023, Joseph H. Gay,

Jr., Assistant United States Attorney, was served with a copy of this Brief through

the CM/ECF system.




                                       /S/Matthew Rex DeKoatz
                                       Matthew Rex DeKoatz
                                       Attorney for Defendant-Appellant




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                      CERTIFICATE OF COMPLIANCE

    Pursuant to 5th Cir. R. 32.2.7(c), counsel certifies that this brief complies with

the type-volume limitations of 5th Cir. R. 32.2.7(b).

   1. Exclusive of the portions exempted by 5th Cir. R. 32.2.7(b)(3), this brief

      contains 2,426 words printed in a proportionally spaced typeface.

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   4. Counsel understands that a material misrepresentation in completing this

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      Court’s striking this brief and imposing sanctions against the person who

      signed it.



                                        /S/Matthew Rex DeKoatz
                                        Matthew Rex DeKoatz
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